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                             UNITED STATES DISTRICT COURT

                                   DISTRICT OF NEW JERSEY



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                                                 1-Ion. Stanley R. Chesler. USDJ
 UNITE1) STATES OF AMERICA.                                           I__/ 4•
                                                                /       /
                                                 Crim. No. i’
 V.

                                                 CONSENT ORDER FOR
 WIllIAM INZAR.                                  MODIFICATiON OF
                                                 CONDITIONS OF RELEASE
                      Defendant.
                                                 Document Electronically Filed


       THIS MATTER having come before the Court upon the applica
                                                                            tion of the Defendant.
William lnzar. by his attorney Kelly Daniels, Esq.. for
                                                        an Order modifying I)efendant’s
conditions of release, and the United States (Rodney Villazo
                                                            r,   Esq., Assistant United States
Attorney) having consented to the application, and the Office
                                                                    of Pretrial Services having
consented to the application, and the Court having considered
                                                              the   reasons for the Defendant’s
request, and good cause having, been shown,
 Case 2:10-mj-07042-CLW           Document 59      Filed 08/26/10     Page 2 of 2 PageID: 101



            IT IS HEREBY ORDERED that Defendant William lnzar’s conditions of release shall

 be modilied to permit Defendant William Inzar to be out of his residence between the hours
                                                                                              of
        c       a m and j          p m dail and

            IT IS FURTHER ORDERED that all remaining conditions of Pretrial Supervision

 prexioush imposed shall remain in full force and efleet until fIier order ol the Court


                                                                                 ..—




                                      HONOI   BLE STA. EY R. CIIESLER
                                      UNITED STATES DISTRICT JUDGE




CONSENTEI) TO:

PAUL J. FISHMAN
UN 1TEI) STATES ATTORNEY

By’:    s/Rodney Villazor
        Rodney Villazor, Esq., A.U.S.A.
        Assistant United States Attorney



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              d arit
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By:    s/Kelly Daniels
        Kelly Daniels. Esq.
